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                             STATEMENT OF FACTS

       Your affiant, Jessica Salo, is a Special Agent with the Federal Bureau of
Investigation (FBI) and has been so employed since November 2014. Prior to
becoming an agent, I worked as an Intelligence Analyst at the FBI for approximately
six years. I am currently assigned to the Orange County Joint Terrorism Task Force
(JTTF). My duties at the JTTF include investigating violations of the laws of the
United States, specifically investigations related to domestic and foreign terrorism. As
a Special Agent, I have received both formal and informal training from the FBI
regarding domestic and foreign terrorism investigations. Through my training and
experience with the FBI, I am familiar with the methods of operations that individuals
associated with domestic and foreign terrorist organizations employ, including their
use of social media and online platforms such as Facebook, Instagram, and YouTube
to communicate with associates regarding their ideology, to organize actions on behalf
of their organizations, and to bring attention to their political and social agendas.

       Currently, I am tasked with investigating criminal activity in and around the
Capitol grounds on January 6, 2021. As a Special Agent, I am authorized by law or
by a Government agency to engage in or supervise the prevention, detection,
investigation, or prosecution of a violation of Federal criminal laws.

      The United States Capitol Building (the Capitol) is secured twenty-four hours a
day by U.S. Capitol Police (USCP). Restrictions around the Capitol include
permanent and temporary security barriers and posts manned by USCP. Only
authorized people with appropriate identification are allowed access inside the
Capitol. On January 6, 2021, the exterior plaza of the Capitol was also closed to
members of the public.

       On January 6, 2021, a joint session of the United States Congress convened at
the Capitol, which is located at First Street, SE, in Washington, D.C. During the joint
session, elected members of the United States House of Representatives and the United
States Senate were meeting in separate chambers of the Capitol to certify the 2020
Presidential Election’s Electoral College vote count. The 2020 Presidential Election
took place on Tuesday, November 3, 2020. The joint session began at approximately
1:00 PM. Shortly thereafter, by approximately 1:30 PM, the House and Senate
adjourned to separate chambers to resolve a particular objection. Vice President Mike
Pence was present and presiding, first in the joint session, and then in the Senate
chamber.

       As the proceedings continued in both the House and the Senate, and with Vice
President Pence present and presiding over the Senate, a large crowd gathered outside
the Capitol. As noted above, temporary and permanent barricades were in place
around the exterior of the Capitol building. USCP were present and attempting to keep
the crowd away from the Capitol and the proceedings underway inside.
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       At such time, the certification proceedings were still underway and the exterior
doors and windows of the Capitol were locked or otherwise secured. Members of the
USCP attempted to maintain order and keep the crowd from entering the Capitol;
however, around 2:00 PM, individuals in the crowd forced entry into the Capitol,
including by breaking windows and by assaulting members of the USCP, as others in
the crowd encouraged and assisted those acts.

       Shortly thereafter, at approximately 2:20 PM, members of the House of
Representatives and Senate, including the President of the Senate, Vice President
Pence, were instructed to—and did—evacuate the chambers. Accordingly, the joint
session of Congress was effectively suspended until shortly after 8:00 PM. Vice
President Pence remained in the Capitol from the time he was evacuated from the
Senate Chamber until the sessions resumed.

       During national news coverage of the aforementioned events, video footage—
which appeared to be captured on mobile devices of persons present on the scene—
depicted evidence of violations of local and federal law, including scores of individuals
inside the Capitol without authority to be there. Your affiant has identified Stephanie
M. BAEZ as an individual who was inside the Capitol building on January 6, 2021,
without authority.

       Beginning on or about January 6, 2021, the FBI began receiving tips from the
public related to the unlawful entry and riot at the Capitol. On or about January 6,
2021, the FBI received an anonymous tip that an Instagram user with the handle
@stephmb293 posted videos of herself during the riot on Instagram. The tipster
identified Instagram user @stephmb293 as Stephanie M. BAEZ.

      Based on records received from Instagram, user @stephmb293 has the name
Stephanie Baez listed on the account, along with a telephone number 714-470-5495.
Open source information searches associate BAEZ with telephone number 714-470-
5495.

      The FBI was alerted to a video interview posted on or about January 14, 2021.1
The caption of the posting is: Girl is “Looking for a Proud Boy!” 2 The post shows a
video of a woman being interviewed in front of what appears to be the Capitol. The
woman in the video has brown hair, appears to be in her mid-twenties, and is wearing

1
    https://www.reddit.com/r/ParlerWatch/comments/kx567t/girl_is_looking_for_ a_proud_boy/
2
  Proud Boys is a nationalist organization with multiple U.S. chapters and potential activity in other Western
countries. The group describes itself as a “pro-Western fraternal organization for men who refuse to apologize
for creating the modern world; aka Western Chauvinists.” Proud Boys members routinely attend rallies, protests,
and other events where they sometimes engage in violence against individuals whom they perceive as threats to
their values. The group has an initiation process for new members, who often wear yellow and black polo shirts
or other apparel adorned with the Proud Boys logo to events.
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a gray, long sleeve sweater with a black shirt underneath. During the interview, the
woman said she was looking for a Proud Boy and provided her Instagram handle as
@stephmb293. Based on my training and experience, I am aware that members of the
Proud Boys were present at the Capitol on January 6, 2021 and involved with the
illegal activities and violence that occurred at the Capitol.




Screenshot 1— A screenshot taken from the so-called Girl is Looking for a Proud Boy video where at approximately
0:14, BAEZ gives her Instagram handle as @stephmb293.

       After reviewing the video interview, I conducted research on STEPHANIE
BAEZ and identified a California resident by that name, with date of birth July 14,
1993. I reviewed California Department of Motor Vehicle (“DMV”) records, including
her photograph, and identified BAEZ as the woman in the interview.

       I reviewed video footage from inside the Capitol and identified the defendant
as an individual inside the Capitol on January 6, 2021. The footage shows the
defendant holding a cell phone while inside the Capitol. Additional footage shows
defendant leaving the Capitol while law enforcement was clearing the building. Based
on my review of the footage of the defendant and my familiarity with the interior of
the Capitol, the footage shows the defendant located within the Capitol building,
specifically the Crypt of the Capitol and other locations.

       According to records obtained through a search warrant which was served on
Google, a mobile device associated with telephone number 714-470-5495 was present
at and inside of the Capitol on January 6, 2021. Google estimates device location using
sources including GPS data and information about nearby Wi-Fi access points and
Bluetooth beacons. This location data varies in its accuracy, depending on the source
of the data. As a result, Google assigns a “maps display radius” for each location data
point. Thus, where Google estimates that its location data is accurate to within 10
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meters, Google assigns a “maps display radius” of ten meters to the location data
point. Finally, Google reports that its “maps display radius” reflects the actual location
of the covered device approximately 68% of the time. In this case, Google location
data shows that a device associated with telephone number 714-470-5495 was inside
the Capitol on January 6, 2021 between 2:52:01 PM (EST) and 4:08:52 PM (EST).




Screenshots 2, 3, and 4—Screenshots taken from open source videos that show (from left to right) the defendant
walking through the Capitol Crypt; the defendant using her cellphone inside the Capitol Crypt; and the defendant
standing inside of the Capitol using her cellphone, all on January 6, 2021.
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Screenshot 5—A screenshot from an open source video shows the defendant leaving the Capitol on January 6, 2021.
The video later pans to show that the door that the defendant is walking through is an exterior door.




Screenshot 6—A screenshot of a post to the defendant’s Instagram account from January 8, 2021, showing the
defendant wearing the same black shirt that she wore while inside the Capitol on January 6, 2021. The shirt features
a photo of George Orwell and attributes to him the quote: BOY DID I CALL IT OR WHAT?
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                     DEFENDANT’S NON-CUSTODIAL INTERVIEW

       On April 27, 2021, your affiant conducted a non-custodial, in-person interview
with the defendant, during which the defendant stated in sum and substance that she
created and owned the Instagram accounts @stephmlb7773 and @stephmbmd. The
defendant further stated that she had gone to Washington, D.C., to attend the rally
and to look at medical schools4 in D.C. and on the east coast.

       The defendant further stated that after attending President Trump’s speech, she
walked to the U.S. Capitol. The defendant then stated that she entered the Capitol,
asserting her belief that the Capitol police told her that she could be inside the Capitol
and indicated areas to her where she could and could not be. The defendant further
stated that everyone was calm and no one had any reason to believe that they were not
allowed inside. The defendant later stated that lots of people believed that there were
some people who thought they could be in there, and other people who were just
making a mess. The defendant further stated that some people were falling over each
other and others were waving around American flags. The defendant further stated
that some people were just following groups and she feels like it is insane not to take
that into consideration.

       The defendant further claimed that she had authority to be inside the
Capitol because she had looked up the Capitol’s hours ahead of time and confirmed
that the Capitol would be open so that she could tour it. She said her reason in
looking up the Capitol was because it was so close to where Trump was speaking,
and she was just checking out what else was in the area that one would want to see
while in Washington, D.C. The defendant further claimed that she went online to
check the hours of the Capitol to see if it was open. The defendant further stated that
she thinks that she went to the Capitol’s official website because it listed certain days
that were closed, like Inauguration Day. The defendant later stated that it is possible
that she read the website wrong.

      The defendant said that she did not recall seeing any broken windows or
doors. She did recall being in the vicinity of a chemical irritant and recalled the
police shooting rubber bullets at people. The defendant further stated that many
people did not know they were not supposed to be inside the Capitol because it
was so calm inside. The defendant showed the agents videos that she claims to
have taken of the inside of the Capitol on January 6, 2021.


3
    The defendant further stated that the account @stephmb293 is the same account as @stephmlb777.
4
 The defendant thought perhaps she had visited The Johns Hopkins University School of Medicine. When the
agent informed her that was in Baltimore, she said that it must have been another school, perhaps one that was
near a subway.
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       During the non-custodial interview, your affiant showed the defendant the three
screenshots shown below. The defendant identified the individual in each of the
pictures as herself.




Screenshots 7, 8, and 9—Three screenshots that your affiant showed the defendant. The screenshots show (from left
to right) an individual with a distinctive t-shirt depicting George Orwell, an individual seated in front of what appears
to be the U.S. Capitol, and an individual inside of what appears to be the Capitol Crypt. The defendant identified the
individual in each of those screenshots as herself.


                     DEFENDANT’S STATEMENTS ON INSTAGRAM

       Pursuant to a search warrant, your affiant has obtained and reviewed content
that is associated with the above-mentioned Instagram accounts belonging to the
defendant.

      On January 5, 2021, at approximately 5:31 PM, the defendant stated in sum
and substance to another Instagram user:

         Man, I wish I was cool like you. I just came out [to Washington, D.C.] alone
         to fight antifa.


      On January 6, 2021, at approximately 3:09 PM, the defendant stated in sum
and substance to another Instagram user:

         I’m inside the capitol building.
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      On January 6, 2021, at approximately 3:53 PM, the defendant stated in sum
and substance to another Instagram user:

           I’m ok! But I got a bit of tear gas. Nothing bad luckily. Where are you guys??
           I got some vids and video of all the broken glass from inside.


      On January 6, 2021, at approximately 4:25 PM, the defendant stated in sum
and substance to another Instagram user:

           But blm/ANTIFA destroyed small businesses. Here, Americans fought back
           against the actual government. Nothing was broken inside, except to go in I
           think some glass. I’m just not sure what else we can do. Peaceful protesting
           did nothing for us. Once again, I didn’t break anything. I’m just trying to
           document.


      On January 6, 2021, at approximately 5:46 PM, the defendant stated in sum
and substance to another Instagram user:

           Oh there are for sure Trump supporters storming here, and they are pissed.
           They might try storming the Supreme Court later. . . . 2 old ladies were some
           of the first people in the capitol building and they had garbage lids, pushing
           back cops. Those are the Patriots of today.

           I might go back to the storming at the Supreme Court, but I’m down to do
           it [give an interview to another Instagram user] after documenting
           everything! Yes!! Lol I’m acting like a reporter.


      On January 6, 2021, at approximately 6:26 PM, the defendant stated in sum
and substance to another Instagram user:

           I can say, nothing was touched besides the entrance from what I could see.
           People are mad! I got an interview with one of the first guys to storm the
           capitol building, a NATIVE AMERICAN!5 Yes antifa infiltrated for sure,
           but it was A LOT of Patriots to.




5
    Defendant is referring to a video she took of separately charged defendant Jorge A. RILEY (21-CR-69).
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      On January 6, 2021, at approximately 8:09 PM, another Instagram user stated:
You guys! Congress is back in sessions! Pence is speaking rn! In response, the defendant stated
in sum and substance:

       Welp time to get back and storm the building.


      On January 6, 2021, at approximately 8:26 PM, the defendant stated in sum
and substance to another Instagram user:

       Actually some of the very first people in were 2 old ladies that had trash can
       lids to push back security. So bad ass.


      On January 7, 2021, at approximately 12:05 AM, in response to another user
who stated: You go girl!!!!, the defendant stated in sum and substance:

       Lol thank you. I cannot believe the hypocrisy on the left from this. The only
       bad thing Trump supporters did, which I will call out, was break windows.
       Cops LET THEM PAST the barriers. And the citizens of America are
       ALLOWED TO BE IN THE CAPITOL BUILDING WHEN ANYTHING
       IS IN SESSION.


      On January 7, 2021, at approximately 12:07 AM, the defendant stated in sum
and substance to another Instagram user:

       Lol I did! It was actually fairly peaceful when I went in, chanting, people
       talking to cops, placing stuffed animal eagles on statues. Aaannd police let
       us through the barriers, they only really messed up breaking windows. But
       its our capitol building, we pay for it.


       On January 7, 2021, at approximately 12:45 AM, another Instagram user stated:
Storming capitols is a legitimate form of protest. Taking a protest directly to your government is
the proper way to do it. Everyone saying otherwise is lame. Thank you for standing up against
pure evil and the establishment. In response, the defendant stated in sum and substance:

       Anytime! Honestly, what have we gained by following the rules while they
       cheat? Besides, American citizens are allowed in the capitol building
       anytime congress is meeting to speak, and I didn’t break anything, so I didn’t
       do anything wrong.
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      On January 7, 2021, at approximately 1:01 AM, another Instagram user stated:
Glad you are standing up for what we believe in! We support you 100000%. In response, the
defendant stated in sum and substance:

      Thank you! We might lose our country but we sure as hell won’t make it
      easy. But we won’t lose.


     On January 7, 2021, at approximately 2:32 AM, another Instagram user stated:
Whoa have they [doxed] you yet? In response, the defendant stated in sum and substance:

      Nah. I’ll be fine. I’m not on Twitter and I doubt anyone would recognize
      me. I mean, they can do ahead and do whatever, I practice my 2nd
      amendment.


      On January 13, 2021, at approximately 1:59 PM, the defendant stated in sum
and substance:

      These ppl really fell for the “incitement thing”? People got mad, yes, an
      election was stolen! But Trump was an angel! Also Antifa was there
      100%.




                [THIS SPACE INTENTIONALLY LEFT BLANK]
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                  THE “FACES OF 32 INSURRECTIONISTS” TWEET

        On January 6, 2021, at approximately 9:22 PM, Twitter user @MrGoodMemes
posted the following photo with the caption: Here are the faces of 32 insurrectionists as they
leave the Capitol building. Retweet far and wide so these criminals are not allowed to get away
with their treason.




Screenshots 10 and 11—(left) A screenshot of Twitter user @MrGoodMemes’ tweet where he showed the defendant
and thirty-one other individuals with the caption: Here are the faces of 32 insurrectionists as they leave the Capitol
building. Retweet far and wide so these criminals are not allowed to get away with their treason. (right) An enlarged
and isolated screenshot of the defendant as shown in the previously mentioned tweet.
       Instagram records show that the defendant shared this photo with several
different Instagram users and groups of users with the following statements:
         January 7, 2021 at approximately 12:30 AM:

         I’m in the first pic. I’m so proud! I already checked. Since we are legally
         allowed into the Capitol Building, and I didn’t damage anything, I didn’t
         break the law. . . . Oh yeah but im not on Twitter. And im honestly at the
         point where if I get hurt or go to jail for NOTHING. Just pushes the
         movement for our cause more. Im done being scared and quiet. Nothing gets
         done.
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       January 7, 2021 at approximately 12:31 AM:

       I’m in the first pic, so proud. . . . Lol ill just say I was actually antifa and the
       left will let me go.

       January 7, 2021 at approximately 12:34 AM:

       My proudest moment. . . . Don’t worry, I checked and technically American
       citizens are allowed into the Capitol Building ANY TIME that congress is
       speaking, so we were allowed to be there today, and I didn’t break anything.
       They just hate that I use common sense in my beliefs.

         January 7, 2021 at approximately 12:49 AM, after the defendant sent an
Instagram user the tweet shown above, the Instagram user sent the following message
back to the defendant: Lol wow. You weren’t even doing anything and how is that treasonous?
It’s literally not in any law that we can’t go in there. In response, the defendant stated in
sum and substance:
       Lol I know. It’s my proudest moment. Just sucks they used such a horrible
       pic, I want to send them the one of me in my USA bikini and be like “here,
       please use this at least lol.”

       January 7, 2021 at approximately 2:00 AM:

       Are you gonna tell your parents about me being a revolutionary? . . . I think
       they would be proud but terrified for me in the twotter post, but that’s my
       favorite thing.

                                       CONCLUSION

       Your affiant believes there is probable cause that BAEZ unlawfully entered the
Capitol building on January 6, 2021 based on the defendant’s own admissions to the
FBI and others via social media and the above photographs and screenshots depicting
the defendant inside the Capitol.
       Based on the foregoing, your affiant submits that there is probable cause to
believe that BAEZ violated 18 U.S.C. §§ 1752(a)(1) and (2), which make it a crime to
(1) knowingly enter or remain in any restricted building or grounds without lawful
authority to do; and (2) knowingly, and with intent to impede or disrupt the orderly
conduct of Government business or official functions, engage in disorderly or
disruptive conduct in, or within such proximity to, any restricted building or grounds
when, or so that, such conduct, in fact, impedes or disrupts the orderly conduct of
Government business or official functions; or attempts or conspires to do so. For
purposes of 18 U.S.C. § 1752, a “restricted building” includes a posted, cordoned off,
or otherwise restricted area of a building or grounds where the President or other
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person protected by the Secret Service, including the Vice President, is or will be
temporarily visiting; or any building or grounds so restricted in conjunction with an
event designated as a special event of national significance.
       Your affiant submits there is also probable cause to believe that BAEZ violated
40 U.S.C. § 5104(e)(2)(D), which makes it a crime to willfully and knowingly engage
in disorderly or disruptive conduct at any place in the grounds or in any of the Capitol
Buildings with the intent to impede, disrupt, or disturb the orderly conduct of a session
of Congress, and 40 U.S.C. § 5104(e)(2)(G), which makes it a crime to willfully and
knowingly parade, demonstrate, or picket in any of the Capitol Buildings.




                                               Jessica Salo
                                               Special Agent
                                               Federal Bureau of Investigation


      Attested to by the applicant in accordance with the requirements of Fed. R.
Crim. P. 4.1 by telephone, this 28th day of May 2021.
                                                                   Digitally signed by G.
                                                                   Michael Harvey
                                                                   Date: 2021.05.28
                                                                   16:53:42 -04'00'
                                               G. MICHAEL HARVEY
                                               U.S. MAGISTRATE JUDGE
